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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,

vs                                            Cr. No. 20-20517
                                              HON DENISE PAGE HOOD

STEPHEN SHIPPS,

                      Defendant.
________________________________/


               THIRD STIPULATION REGARDING CONDITIONS OF PRETRIAL RELEASE

       On October 29, 2020, at Defendant’s initial appearance, the

Magistrate Judge issued an order of pretrial release that included

the conditions that Defendant submit to “location monitoring” through

a GPS system (condition 7(r)).           (ECF No. 7, PageID 14.)       Accordingly,

Defendant has been continuously wearing an ankle monitor that

provides his location position.

       Very recently, Defendant was diagnosed with a hernia for which

he likely will need surgery.          Presently, he has a surgery

consultation scheduled on May 12, 2021.            The ankle monitor may

interfere with imaging and/or other testing that will occur during

this consultation, and with any subsequent surgery.

       In view of the above, the parties now stipulate that condition

7(r) be suspended as necessary and appropriate for Defendant to fully

participate in any necessary medical consultations and for any

subsequent surgeries.        The parties further stipulate that Defendant’s

pretrial services officer determine what is “necessary and

appropriate” in these circumstances, giving full consideration to the

recommendations of Defendant’s health care providers.                If it is

necessary that the monitoring tether be removed for any consultation
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or surgery, Defendant’s pretrial services officer may authorize

Defendant to remove the tether so long as Defendant arranges with the

pretrial services officer to have the tether reinstalled immediately

upon conclusion of the medical consultation, surgery, or other

procedure that necessitated the tether’s removal.

     The parties represent to the Court that Pretrial Services

Officer Michael Mitchell does not object to these stipulations.



IT IS SO STIPULATED.



s/Sara D. Woodward (w/permission)          s/John A. Shea _________
Assistant U.S. Attorney                    Attorney for Defendant
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DATED: May 6, 2021                         DATED: May 6, 2021
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                            Plaintiff,

vs                                          Cr. No.          20-20517
                                     HONORABLE DENISE   PAGE HOOD

STEPHEN SHIPPS,

                      Defendant.
________________________________/


                     ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE

       The Court has considered the parties’ stipulation to modify

Defendant’s conditions of pretrial release, and for the reasons

stated therein, IT IS ORDERED that the Order Setting Conditions of

Pretrial Release, ECF No. 7, is hereby is modified as follows:

          1.   Condition 7(r) is modified to suspend GPS location

               monitoring of Defendant, including removal of the GPS

               tether monitor, as necessary and appropriate to permit him

               to consult with health care providers and any surgery as

               described in the stipulations; PROVIDED THAT Defendant

               arranges with the pretrial services officer to have the

               tether reinstalled immediately upon conclusion of the

               medical consultation, surgery, or other procedure that

               necessitated the tether’s removal..

          2.   Defendant’s pretrial services officer is authorized to

               determine what is “necessary and appropriate” in these

               circumstances, giving full consideration to the

               recommendations of Defendant’s health care providers..
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     In all other respects, the Order Setting Conditions of Pretrial

Release, as previously modified, remain in full force and effect.



                                           s/Denise Page Hood
     DATED: May 10, 2021                   Unites States District Judge
